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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                  Plaintiff,                             8:13-CR-244

vs.
                                              MEMORANDUM AND ORDER
LUIS MEZA-GALVEZ,

                  Defendant.


      This matter is before the Court on the defendant Luis Meza-Galvez's
motions to suppress (filing 65 and filing 67 as amended by filing 99) and the
Findings and Recommendation (filing 110) of the United States Magistrate
Judge. The Magistrate Judge recommended that Meza-Galvez's second
motion to suppress (filings 67 and 99) be denied, and that Meza-Galvez's first
motion (filing 65) be granted as to certain statements made by Meza-Galvez
prior to being advised of his Miranda rights, but denied in all other respects.
Meza-Galvez objected to all aspects of the Findings and Recommendation
decided against him. Filing 121. And the government objected to the portion
of the order recommending that Meza-Galvez's pre-Miranda statements be
suppressed. Filing 125.
      The Court has conducted a de novo review of Meza-Galvez's motion to
suppress, pursuant to 28 U.S.C. § 636(b)(1). For the reasons discussed below,
the Court finds that Meza-Galvez's objections are without merit, but that the
government's objection should be sustained. Accordingly, the Court will adopt
the Findings and Recommendation of the Magistrate Judge, except for that
portion finding that Meza-Galvez was in custody when he made certain
statements to the police.

                        FACTUAL BACKGROUND
      The Magistrate Judge summarized the facts of this case in his Findings
and Recommendation, and the parties have not objected to those factual
findings. The Court finds that the Findings and Recommendation accurately
state the pertinent facts, and so the Court will only set forth the facts that
are particularly germane to the present discussion.
      On May 24, 2013, the Omaha Police Department was investigating
methamphetamine trafficking in the Omaha area. Filing 106 at 7. During the
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course of the investigation, police learned that the apartment Meza-Galvez
was staying in was being used in connection with the drug conspiracy under
investigation. Filing 106 at 9–11, 40–41. At approximately 5:00 p.m., several
officers went to the apartment to conduct a "knock and talk." Filing 106 at 12,
32. The officers were wearing ballistic vests with police markings, and had
their weapons holstered but visible. Filing 106 at 30–31, 49–50. Detective
Branch and Officers Hernandez and Andersen approached the apartment and
Branch knocked on the door. Filing 106 at 12. Meza-Galvez answered the
door. Filing 106 at 12. Branch, speaking in English, asked permission to
enter so that the officers could speak to Meza-Galvez. Filing 106 at 12–13, 27.
Meza-Galvez did not verbally respond but held the door open and walked
away from the door, which Branch understood to mean that he and the other
officers had Meza-Galvez's permission to enter. Filing 106 at 13, 21.
       The apartment was a "very small" one-bedroom apartment with a
living room, kitchen, bedroom, bathroom, and furnace room. Filing 106 at 14.
Upon entering, Branch followed Meza-Galvez into the living room while the
other two officers conducted a protective sweep of the apartment and
confirmed that no one else was present. Filing 106 at 15, 37–38. Once in the
living room, Branch noticed a stack of U.S. currency on a coffee table next to
a notebook with names and numbers, which appeared to Branch to be a
ledger of drug sales activities. Filing 106 at 17–18.
       Branch explained to Meza-Galvez that he and his fellow officers were
there as part of an investigation into narcotics trafficking. Branch asked
Meza-Galvez if he was staying at the apartment and if he would grant the
police permission to search. Filing 106 at 13, 15, 37. It quickly became
apparent that Meza-Galvez did not understand what Branch was saying, and
Officer Hernandez, who is fluent in Spanish, began repeating what Branch
had stated in Spanish. Filing 106 at 13, 15–16, 29, 42. Branch testified that
Meza-Galvez then nodded, which he took as an indication Meza-Galvez
understood Hernandez. Filing 106 at 16. Hernandez testified that Meza-
Galvez appeared to understand what he was saying, and appeared to be of
average intelligence and not under the influence of drugs or alcohol. Filing
106 at 44, 52.
       Hernandez then asked Meza-Galvez whether there were any drugs in
the apartment. Filing 106 at 43. Meza-Galvez pointed to a "little door" and
said "yes, under the boiler." Filing 106 at 43. The officers then patted Meza-
Galvez down for weapons, and he sat (or was directed to sit) on the floor.
Hernandez then asked if Meza-Galvez would grant the police permission to
search the residence. Meza-Galvez responded that he did not have the
authority to give them permission, because it was not his apartment. Meza-
Galvez was then placed in handcuffs. Filing 106 at 18, 33–34, 43–44, 50, 52.


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Hernandez testified that all of this occurred within 5 minutes of entering the
apartment. Filing 106 at 50. Branch and Hernandez testified that throughout
the encounter they spoke to Meza-Galvez in normal, conversational tones.
Filing 106 at 38, 44. And Branch testified that Meza-Galvez's demeanor was
calm and collected. Filing 106 at 39.
      Thereafter, Branch left to obtain a search warrant. Filing 106 at 34.
Hernandez then read Meza-Galvez the Miranda advisement in Spanish and
provided him with a Spanish-language rights advisory form. Filing 106 at
44–48; Exh. 1. Meza-Galvez agreed to waive his rights and continued
speaking with Hernandez, and thereafter made further incriminating
statements. Filing 106 at 48–49.

                                  ANALYSIS
       Meza-Galvez argues that his statements to police and the evidence
recovered from the apartment should be suppressed because (1) he did not
voluntarily consent to the officers' entry of the apartment; (2) his statement
that there were drugs in the apartment was the product of custodial
interrogation made prior to any Miranda warning; (3) his statements to the
police were involuntary; and (4) the search warrant was not supported by
probable cause.
       The Magistrate Judge rejected the majority of Meza-Galvez's
arguments, and the Court concurs in the analysis and conclusions of those
portions of the Findings and Recommendation. The Court will therefore
discuss those matters only briefly. First, Meza-Galvez was at least
temporarily residing at the apartment and therefore had a reasonable
expectation of privacy in the apartment and standing to challenge the
officers' entry. See United States v. Wiest, 596 F.3d 906, 909–910 (8th Cir.
2010).
       Second, Meza-Galvez manifested consent to Branch's request to enter
the apartment, and the officers' entry was thus lawful. The focus of the
Court's inquiry is not whether Meza-Galvez, who claims not to have
understood the officers' request in English, actually consented to the officers'
entry, but whether a reasonable officer would have believed consent was
given. See United States v. Pena-Ponce, 588 F.3d 579, 584 (8th Cir. 2009).
This can be inferred from a suspect's words, gestures, or other conduct. Id.
When Branch asked permission to enter, Meza-Galvez held the door open and
walked away from the door. As the Magistrate Judge explained, this would
lead any reasonable law enforcement officer to believe he had been granted
permission to enter. Filing 110 at 5–6.
       The Magistrate Judge further found that the later-obtained search
warrant for the apartment was supported by probable cause, and that there


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was sufficient probable cause to believe evidence of drug trafficking would be
found in the apartment even if all facts learned after the initial entry into the
apartment were excised from the supporting affidavit. Filing 110 at 7–8.
Given what the officers had already learned through their prior surveillance
and questioning of Meza-Galvez's co-defendants just prior to their arrival at
the apartment, see filing 110 at 2, this Court finds likewise.
      This brings the Court to Meza-Galvez's statements to police, and in
particular, his admission that there were drugs in the apartment. Miranda v.
Arizona, 384 U.S. 436 (1966), requires that law enforcement agents provide
certain prescribed warnings before conducting an interrogation of a suspect
who is in custody. There is no doubt that the questioning of Meza-Galvez
constituted interrogation; the only dispute is whether Meza-Galvez was in
custody at the time. The Magistrate Judge found that Meza-Galvez was in
custody and that his statement must therefore be suppressed. Bearing in
mind that "the task of defining 'custody' is a slippery one," Oregon v. Elstad,
470 U.S. 298, 309 (1985), and that this Court is obligated to conduct a de
novo review of this matter, the Court declines to adopt this portion of the
Findings and Recommendation, and instead finds that Meza-Galvez was not
in custody when he stated that there were drugs in the "boiler."
      The ultimate question in determining whether a person is in custody
for purposes of Miranda is whether there is a formal arrest or restraint on
the suspect's freedom of movement of the degree associated with a formal
arrest. United States v. Czichray, 378 F.3d 822, 826 (8th Cir. 2004). Two
discrete inquiries are essential to this determination: first, what were the
circumstances surrounding the interrogation; and second, given those
circumstances, would a reasonable person have felt he was at liberty to
terminate the interrogation and leave, or in this case, terminate the
interrogation and cause the officers to leave. United States v. Lowen, 647 F.3d
863, 867 (8th Cir. 2011).
      In making this determination, the Court looks to the totality of the
circumstances confronting the defendant at the time of the questioning.
Czichray, 378 F.3d at 826. The Court is also guided by the following factors:

      (1) whether the suspect was informed during the interview that
      the questioning was voluntary, that he could ask the officers to
      leave, or that he was not considered under arrest; (2) whether the
      suspect possessed unrestrained freedom of movement during
      questioning; (3) whether the suspect voluntarily acquiesced to
      official questioning or initiated contact with authorities; (4)
      whether strong arm tactics or deceptive stratagems were
      employed during questioning; (5) whether there was a police-


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      dominated atmosphere; and (6) whether the suspect was placed
      under arrest at the termination of the questioning.

Czichray, 378 F.3d at 827 (citing United States v. Griffin, 922 F.2d 1343, 1349
(8th Cir. 1990)). The Griffin factors are not exhaustive or exclusive, and
"'custody' cannot be resolved merely by counting up the number of factors on
each side of the balance." Id. The Court has considered the Griffin factors,
but finds them to be not particularly instructive in the present case, due in
large part to the quickness with which the relevant events occurred.
       That said, the Griffin factors point both ways. Significantly, Meza-
Galvez was not informed that he was free to decline to answer the officers'
questions and that he was not under arrest. And he was placed under arrest
after being questioned. Pointing the other way, there is no evidence the police
employed "strong arm tactics" or tried to deceive Meza-Galvez. Instead, they
asked him a straightforward question after informing him why they were at
the apartment.
       The remaining factors are less helpful. There is little to suggest, one
way or another, whether Meza-Galvez possessed "unrestrained freedom of
movement." But he was not handcuffed or even patted down prior to his
admission. Similarly, with three officers crowded into the small apartment, it
may have been a police-dominated atmosphere. But while the apartment was
small, there is nothing in the record to suggest that the officers "exploited its
cozy confines or invaded the defendant's personal space." United States v.
Hughes, 640 F.3d 428, 436 (1st Cir. 2011). Finally, Meza-Galvez did not
initiate the contact, but he did allow the officers into his house and—as the
Court finds below—voluntarily responded to their questions.
       In this case, the Griffin factors are less informative than simply
examining the totality of the circumstances. Meza-Galvez met with the police
not in the unfamiliar surroundings of an isolated interrogation room, but in
his own (temporary) abode. When a suspect is interrogated in the "comfort
and familiarity" of his own residence, the Court is less likely to find the
circumstances custodial. Lowen, 647 F.3d at 868. The apartment may not
have been Meza-Galvez's residence for long, and in that sense, the encounter
might best be said to have taken place in "neutral territory." The encounter
occurred at 5:00 in the afternoon, which is not a sinister or disconcerting time
of day for the police to arrive. Throughout the encounter, the officers spoke to
Meza-Galvez in conversational tones. And far from being subjected to a
lengthy interrogation, Meza-Galvez had only, at that time, been asked one
question. Finally, although Meza-Galvez was alone, the police had not
separated him from anyone that might have provided moral or psychological
support.


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       In cases presenting similar circumstances, other courts have not found
suspects to be in custody. See, e.g., United States v. Burns, 37 F.3d 276 (7th
Cir. 1994); United States v. Osorio, 2006 WL 2882496 (D. Neb. 2006); United
States v. Landry, 345 F. Supp. 2d 118 (D. Mass. 2004); United States v. Cota-
Lopez, 358 F. Supp. 2d 579 (W.D. Tex. 2002). And the Eighth Circuit has not
found custody even in cases where police have exerted far greater pressure on
the suspect. In Czichray, for example, two law enforcement agents showed up
at the suspect's house at 6:30 in the morning, questioned him for 7 hours,
instructed him to call in sick to work and not to answer his own telephone,
escorted him about his house, and told him if he did not cooperate they would
interview his 75-year-old father and "light up his world," as well as pressure
companies to withhold payments from his business. 378 F.3d at 826. Despite
this, the court found the suspect was not in custody. This was largely due to
the fact that the agents repeatedly informed the suspect that the questioning
was voluntary and that he was free to ask the agents to leave. Id. at 826–27.
       Meza-Galvez was not informed that he was not under arrest or that he
could decline to answer the officers' questions. But neither was he subject to
anything even approaching the restrictions or pressure imposed on the
suspect in Czichray. And the failure to inform a suspect that they are not
under arrest, while significant, is not dispositive of the custody inquiry.
Lowen, 647 F.3d at 868. In cases more analogous to this, the lack of such an
advisement has not rendered the encounter custodial. See, e.g., Osorio, 2006
WL 2882496; cf., Burns, 37 F.3d 276; Landry, 345 F. Supp. 2d 118.
       The touchstone of the Court's inquiry remains whether Meza-Galvez
was restrained as though he were under formal arrest. Lowen, 647 F.3d at
868. Meza-Galvez may, or may not, have actually been free to leave at the
moment he was questioned. But not every brief detention rises to the level of
custody. Cf. United States v. Martinez, 462 F.3d 903, 909–10 (8th Cir. 2006).
In United States v. Hernandez-Hernandez, 327 F.3d 703, 705 (8th Cir. 2003),
the defendant was in his front yard with two others when a team of nine law
enforcement officers arrived, patted the men down and told them to take a
seat, and proceeded to search the defendant's house. While the defendant was
seated, an agent questioned him briefly. Id. Despite the fact that he was
undoubtedly detained for the duration of the search, and was, as here,
arrested following the questioning, the court found that he was not in
custody. Id. at 706.
       Considering all of the circumstances, the Court finds that Meza-
Galvez's freedom of movement had not been restrained to the degree
associated with a formal arrest, and that his statement that there were drugs
in the "boiler" should not be suppressed. Because there was no initial
Miranda violation, the Court further finds no cause to suppress Meza-


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Galvez's additional statements, which were preceded by a full and proper
Miranda advisement.
       The Court further finds that Meza-Galvez's statements to police, before
and after being given his Miranda warnings, were not the involuntary
product of police coercion. See United States v. Aldridge, 664 F.3d 705, 712–
713 (8th Cir. 2011). A statement is involuntary—and its use thus violates the
Due Process Clause—when it was extracted by threats, violence, or express
or implied promises sufficient to overbear the defendant's will and critically
impair his capacity for self-determination. United States v. LeBrun, 363 F.3d
715, 724 (8th Cir. 2004). Whether a confession is involuntary is judged by the
totality of the circumstances, and the Court examines the conduct of the
officers and the characteristics of the accused. Id. The government bears the
burden of persuasion and must prove by a preponderance of the evidence that
the challenged statements were voluntary. Id.
       The Court finds that the government has met its burden. The record
does not suggest that Meza-Galvez's will was overborne. The officers spoke
calmly to Meza-Galvez, who was likewise calm and cooperative, and appeared
to be of average intelligence and to understand what was occurring. The fact
that Meza-Galvez felt free to deny the officers' request to search, even before
being given his Miranda warnings, further demonstrates that his will was
not overborne.

      IT IS ORDERED:

      1.    The Court adopts in part, and rejects in part, the
            Magistrate Judge's Findings and Recommendation (filing
            110), as discussed above.

      2.    Meza-Galvez's objection (filing 121) is overruled.

      3.    The government's objection (filing 125) is sustained.

      4.    Meza-Galvez's motions to suppress (filing 65 and filing 67
            as amended by filing 99) are denied in their entirety.




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     Dated this 2nd day of December, 2013.

                                          BY THE COURT:



                                          John M. Gerrard
                                          United States District Judge




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